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                          Case 1:20-cv-01168-ABJ Document 11 Filed 10/19/20 Page 2 of 6
USPS.com® - USPS Tracking® Results                                                                                                      10/5/20, 12:12 PM




  USPS Tracking
                                      ®                                                                                                         FAQs !




     Track Another Package +                                                                                     ! ! ! ! ! !! ! ! ! ! ! ! !
                                                                                                                 ! ! ! !!! ! !!! ! ! ! ! ! !!

                                                                Get the free Informed Delivery® feature to receive
                                                                                                                              Learn More
                                                                automated notifications on your packages
                                                                                                                      (https://reg.usps.com/xsell?
                                                     app=UspsTools&ref=homepageBanner&appURL=https%3A%2F%2Finformeddelivery.usps.com/box/pages/intro/start.ac




                                                                                                                                         Remove %
              Tracking Number: 70191640000110041272                               DarkMatter
              Your item was delivered to the front desk, reception area, or mail room at 4:20 pm on September
              8, 2020 in WASHINGTON, DC 20008.




               " Delivered
              September 8, 2020 at 4:20 pm
              Delivered, Front Desk/Reception/Mail Room
              WASHINGTON, DC 20008

              Get Updates #



                                                                                                                                 #
                  Text & Email Updates


                                                                                                                                 $
                  Tracking History


                  September 8, 2020, 4:20 pm
                  Delivered, Front Desk/Reception/Mail Room
                  WASHINGTON, DC 20008
                  Your item was delivered to the front desk, reception area, or mail room at 4:20 pm on September 8,
                  2020 in WASHINGTON, DC 20008.



                  September 8, 2020, 10:44 am
                  Out for Delivery
                  WASHINGTON, DC 20016



https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tLabels=70191640000110041272%2C&tABt=false                           Page 1 of 3
                          Case 1:20-cv-01168-ABJ Document 11 Filed 10/19/20 Page 3 of 6
USPS.com® - USPS Tracking® Results                                                                                           10/5/20, 12:12 PM



                  September 8, 2020, 10:33 am
                  Arrived at Unit
                  WASHINGTON, DC 20016



                  September 7, 2020
                  In Transit to Next Facility



                  September 4, 2020, 4:46 am
                  Departed USPS Regional Facility
                  WASHINGTON DC DISTRIBUTION CENTER



                  September 4, 2020, 12:55 am
                  Arrived at USPS Regional Facility
                  WASHINGTON DC DISTRIBUTION CENTER



                  September 1, 2020, 9:21 pm
                  Arrived at USPS Regional Origin Facility
                  CHARLESTON SC PROCESSING CENTER



                  September 1, 2020, 1:53 pm
                  Departed Post Office
                  JOHNS ISLAND, SC 29455




                                                                                                                                         Feedback
                  September 1, 2020, 1:14 pm
                  USPS picked up item
                  JOHNS ISLAND, SC 29455




                                                                                                                         #
                  Product Information



                                                                 See Less $




                                        Can’t find what you’re looking for?
                                 Go to our FAQs section to find answers to your tracking questions.




https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tLabels=70191640000110041272%2C&tABt=false             Page 2 of 3
                           Case 1:20-cv-01168-ABJ Document 11 Filed 10/19/20 Page 4 of 6
Track your package or shipment with FedEx Tracking                                                       10/5/20, 12:09 PM




IMPORTANT!
FedEx is closely monitoring the Wildfires in the Northwest. Learn More




          DarkMatter                                    771488451827


                                                              Delivered
                                                     Monday 9/14/2020 at 11:49 am



                                                                                   DELIVERED

                                                                             Signed for by: A.AMIT

                                                                              GET STATUS UPDATES
                                                                         OBTAIN PROOF OF DELIVERY



                                  FROM                                                         TO
                       WASHINGTON, DC US                                                 ABU DHABI, AE



           Shipment Facts

  T R AC K I N G N U M B E R                          SERVICE
  771488451827                                        FedEx International Economy


  W E I G HT                                          D E L I V E R E D TO
  1 lbs / 0.45 kgs                                    Residence


  TOTA L P I E C E S                                  TOTA L S H I P M E NT W E I G HT
  1                                                   1 lbs / 0.45 kgs
https://www.fedex.com/apps/fedextrack/?tracknumbers=771488451827                                               Page 1 of 3
                           Case 1:20-cv-01168-ABJ Document 11 Filed 10/19/20 Page 5 of 6
Track your package or shipment with FedEx Tracking                                                                       10/5/20, 12:09 PM


  1                                                   1 lbs / 0.45 kgs


  TERMS                                               SHIPPER REFERENCE
  Shipper                                             McMahon and Associates


  PA C K A G I N G                                    S P E C I A L H A N D L I N G S E CT I O N
  FedEx Envelope                                      Deliver Weekday, Residential Delivery


  S TA N DA R D T R A N S IT                          S H I P DAT E


  9/16/2020 by 8:00 pm                                Thu 9/10/2020


  ACT UA L D E L I V E RY
  Mon 9/14/2020 11:49 am




           Travel History                                                                                  Local Scan Time

  Monday , 9/14/2020

      11:49 am                 ABU DHABI AE                         Delivered

      9:47 am                  ABU DHABI CITY AE                    On FedEx vehicle for delivery

  Sunday , 9/13/2020

      7:57 pm                  ABU DHABI CITY AE                    At local FedEx facility

      1:23 pm                  ABU DHABI CITY AE                    Delivery exception

                                                                    Rerouted to revised delivery address

      1:22 pm                  ABU DHABI CITY AE                    Delivery exception

                                                                    Future delivery requested

      9:35 am                  ABU DHABI CITY AE                    On FedEx vehicle for delivery

      8:56 am                  ABU DHABI CITY AE                    At local FedEx facility

      4:31 am                  DUBAI CITY AE                        At destination sort facility


  Saturday , 9/12/2020
      8:09 am                  MEMPHIS, TN                          In transit


https://www.fedex.com/apps/fedextrack/?tracknumbers=771488451827                                                               Page 2 of 3
                           Case 1:20-cv-01168-ABJ Document 11 Filed 10/19/20 Page 6 of 6
Track your package or shipment with FedEx Tracking                                                      10/5/20, 12:09 PM



    5:29 am                    MEMPHIS, TN                         Departed FedEx location

    4:46 am                    MEMPHIS, TN                         In transit

  Friday , 9/11/2020

    11:34 pm                   MEMPHIS, TN                         In transit

    4:59 pm                    MEMPHIS, TN                         In transit

    8:25 am                    MEMPHIS, TN                         Arrived at FedEx location

  Thursday , 9/10/2020

    9:10 pm                    WASHINGTON, DC                      Left FedEx origin facility

    4:47 pm                    WASHINGTON, DC                      Picked up

    7:48 am                                                        Shipment information sent to FedEx




https://www.fedex.com/apps/fedextrack/?tracknumbers=771488451827                                              Page 3 of 3
